              Case 2:13-cr-00103-KJM Document 75 Filed 07/15/13 Page 1 of 2

     Patrick K. Hanly (SBN 128521)
 1   980 9th Street, 16th Floor
     Sacramento, California 95814
 2   Telephone: (916) 773-2211
     Facsimile: (916) 449-9543
 3
     Attorney for Defendant
 4   ADIL QAYYUM
 5

 6

 7                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                  EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                          )   Case No: 13-00103 MCE
                                                        )
11                 Plaintiff,                           )   STIPULATION RE TRAVEL
                                                        )
12          vs.                                         )
                                                        )   Date: N/A
13   ADIL QAYYUM,                                       )   Time: N/A
                                                        )   Courtroom: Honorable
14                 Defendant.                           )   CAROLYN K. DELANEY
                                                        )   UNITED STATES MAGISTRATE JUDGE
15                                                      )
                                                        )
16                                                      )
17

18
            It is hereby stipulated by and between the parties and their respective counsel, Assistant U.S.
19
     Attorney Todd Pickles for the United States and Patrick K. Hanly for the defendant, that Defendant
20
     ADIL QAYYUM may collect his passport and travel as follows;
21
            09/02/2013-09/09/2013 – St. Lucia for his wedding; and
22
            11/27/2013-12/01/2013 – Puerto Rico to serve at the best man in his friend’s wedding.
23
            It is further agreed that Defendant ADIL QAYYUM will increase his current unsecured
24
     appearance bond from $50,000 to $125,000 to secure his appearance in court following his travel. Upon
25
     his return from Puerto Rico, ADIL QAYYUM agrees to surrender his passport and the United States
26
     Attorney’s office agrees to reduce his unsecured appearance bond to its original amount of $50,000.
27

28


                                            STIPULATION RE TRAVEL
              Case 2:13-cr-00103-KJM Document 75 Filed 07/15/13 Page 2 of 2

            Dated: July 15, 2013                     /s/ Todd Pickles
 1                                                   Assistant United States Attorney
 2
            Dated: July 15, 2013                     /s/ Patrick K. Hanly
 3                                                   Attorney for Defendant Adil Qayyum

 4

 5

 6          IT IS SO ORDERED.
 7   Dated: July 15, 2013
                                            _____________________________________
 8
                                            CAROLYN K. DELANEY
 9                                          UNITED STATES MAGISTRATE JUDGE

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                               -2-
                                     STIPULATION RE TRAVEL
